           Case 1:06-cr-00101-AWI Document 52 Filed 02/22/07 Page 1 of 4


PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                  Phillip Anthony WYATT

Docket Number:                  1:06CR00101-003 AWI

Offender Address:               Bakersfield, California

Judicial Officer:               Honorable Anthony W. Ishii
                                United States District Judge
                                Fresno, California

Original Sentence Date:         08/21/2006

Original Offense:               18 USC 1343 - Wire Fraud
                                (CLASS C FELONY)

Original Sentence:              118 days BOP (time served); 36 months TSR; $100
                                special assessment; $1,565 restitution; mandatory
                                testing

Special Conditions:             Warrantless search and seizure; Not dissipate assets
                                until financial obligation is paid in full; Financial
                                disclosure; Credit restrictions; Drug counseling; Drug
                                testing; Abstain from alcoholic beverages and places
                                where they are the chief item of sale; $25 monthly co-
                                payment; DNA collection

Type of Supervision:            Supervised Release

Supervision Commenced:          08/21/2006

Assistant U.S. Attorney:        Stanley A. Boone          Telephone: (559) 497-4000

Defense Attorney:               Karen L. Lynch            Telephone: (559) 448-0400

Other Court Action:

12-27-06:                       Non-compliance Report submitted notifying the Court of
                                the defendant’s methamphetamine abuse.               The
                                probation officer recommended the Court take no
                                negative action at the present time in order to allow the

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         Case 1:06-cr-00101-AWI Document 52 Filed 02/22/07 Page 2 of 4


RE:    Phillip Anthony WYATT
       Docket Number: 1:06CR00101-003
       REPORT OF OFFENDER NON-COMPLIANCE


                                    defendant to benefit from intensified drug treatment.
                                    The Court approved on January 3, 2007.


                             NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     ILLICIT DRUG USE (DATES) - February 5, 2007


Details of alleged non-compliance: On February 5, 2007, the defendant provided a
urine sample to his drug treatment program which returned a positive test result for the
presence of morphine.


United States Probation Officer Plan/Justification: On February 15, 2007, the
probation officer contacted Scientific Testing Laboratories for an interpretation of the above
indicated test result. A certifying scientist stated the defendant’s test result for the
presence of morphine could represent metabolized codeine, morphine sulfate, ingestion
of poppy seeds, or “the tail end of heroin use.” The certifying scientist stated any
medications that contain codeine or morphine are only available by prescription.

On February 15, 2007, the probation officer confronted the defendant with the above
urinalysis test result. The defendant stated he did not use heroin and had no recollection
of ingesting poppy seeds. The defendant stated that prior to submitting the urine sample
in question, he took what he thought was an 800 milligram prescription motrin which
belonged to his mother. Considering the certifying scientist advised the probation officer
that motrin would not be a source of metabolized morphine, the probation officer
admonished and warned the defendant to take only his own prescriptions. The probation
officer notified the defendant that a residential community corrections center
recommendation would be made should he continue to engage in any unlawful use of a

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         Case 1:06-cr-00101-AWI Document 52 Filed 02/22/07 Page 3 of 4


RE:   Phillip Anthony WYATT
      Docket Number: 1:06CR00101-003
      REPORT OF OFFENDER NON-COMPLIANCE


controlled substance. Under Federal and California state law, codeine and morphine are
considered controlled substances. Considering this coupled with the fact the defendant
failed to declare any prescription medications prior to submitting the urine sample in
question, the probation officer also admonished the defendant to declare all ingested
prescription medications prior to submitting urine samples for drug testing.

A pattern of prescription drug abuse is not apparent at this time. Considering the
defendant has been admonished and warned to take only prescription medication in his
name, the probation officer recommends the Court take no negative action at the present
time in order to allow the defendant to benefit from continued drug treatment services.
Should the defendant continue to find himself at variance from his terms and conditions
of supervision, the probation officer will immediately notify the Court.

                                Respectfully submitted,

                                       /s/ R. Walters

                                   R. WALTERS
                           United States Probation Officer
                             Telephone: (661) 861-4305

DATED:       February 16, 2007
             Bakersfield, California
             RCW:dk

                           /s/ R. Walters
REVIEWED BY:
                    RICK C. LOUVIERE
                    Supervising United States Probation Officer




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          Case 1:06-cr-00101-AWI Document 52 Filed 02/22/07 Page 4 of 4


RE:      Phillip Anthony WYATT
         Docket Number: 1:06CR00101-003
         REPORT OF OFFENDER NON-COMPLIANCE




THE COURT ORDERS:

(W )   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
       Taken At This Time.

( )    Submit a Request for Modifying the Conditions or Term of Supervision.

( )    Submit a Request for Warrant or Summons.

( )    Other:

IT IS SO ORDERED.

Dated:    February 20, 2007                  /s/ Anthony W. Ishii
0m8i78                                 UNITED STATES DISTRICT JUDGE




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